
16 So.3d 308 (2009)
J.L., a Child, Appellant,
v.
STATE of Florida, Appellee.
No. 5D09-162.
District Court of Appeal of Florida, Fifth District.
August 28, 2009.
James S. Purdy, Public Defender, and David S. Morgan, Assistant Public Defender, Daytona Beach, for Appellant.
Bill McCollum, Attorney General, Tallahassee, and Jeffrey R. Casey, Assistant Attorney General, Daytona Beach, for Appellee.
PER CURIAM.
J.L. ("Appellant"), a juvenile, appeals the trial court's imposition of both alternative sanctions and secure detention for a single violation of probation. The State properly concedes error. Section 984.09(1), Florida Statutes (2008), authorizes either secure detention or alternative sanctions, but not both. On remand, the trial court shall correct the sentence.
REVERSED AND REMANDED.
GRIFFIN, TORPY and LAWSON, JJ., concur.
